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                                    Exhibit A

                                 (Interim Order)




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                                IN THE UNITED STATES BANKRUPTCY COURT

                                          FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

ACTIVECARE, INC., a Delaware                                  Case No. 18-_____ (___)
corporation, 1
                                                              (Jointly Administered)
                                       Debtor.


         INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364, 503
    AND 507: (A) AUTHORIZING THE DEBTORS TO OBTAIN POST-PETITION TERM
    LOAN FINANCING; (B) AUTHORIZING DEBTORS TO USE CASH COLLATERAL;
     (C) GRANTING LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
      EXPENSE STATUS; (D) GRANTING ADEQUATE PROTECTION TO THE PRE-
     PETITION LENDER; (E) MODIFYING AUTOMATIC STAY; (F) SCHEDULING A
               FINAL HEARING; AND (G) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”)2 of ActiveCare, Inc. (“ActiveCare”) and 4G Biometrics,

LLC (“4G Biometrics”), as debtors and debtors in possession (the “Debtors”) in the above-

captioned chapter 11 cases (collectively, the “Chapter 11 Cases”) for interim and final relief

under Sections 105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d), 364(e), 503 and 507

of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Rules

2002, 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and Rules 2002-1 and 4001-2 of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”), seeking entry

of an interim order (this “Interim Order”), inter alia:




1
          Pursuant to 11 U.S.C. § 342(c)(1), the Debtors in these cases, along with the last four digits of each Debtor’s federal
tax-identification number, are: ActiveCare, Inc. (8125); and 4G Biometrics, LLC (5678). The location of the Debtors’
headquarters and the Debtors’ service address is 1365 West Business Park Drive, Suite 100, Orem UT 84058.
2
          Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.
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        (i)    authorizing the Debtors to obtain priming senior secured post-petition financing
on a superpriority basis pursuant to the terms and conditions of the Pre-Petition Loan Agreement
and the Pre-Petition Loan Documents, with the exceptions set forth on Appendix A attached to
this Interim Order (the “DIP Loan Agreement”; together with the agreements, documents,
instruments and certificates executed by the Debtors or otherwise delivered in connection
therewith, the “DIP Loan Documents”), by and among the Debtors and Partners For Growth IV,
LP, a Delaware limited partnership (“PFG” or the “DIP Lender”), providing for, inter alia, a
superpriority, new money, term loan credit facility providing for the borrowing of loans in
accordance with the Approved Budget (as defined below) in an aggregate principal amount not
to exceed $800,000 (the “DIP Facility”);

       (ii)   authorizing the Debtors to execute and deliver the DIP Loan Agreement and the
other DIP Loan Documents and to perform such other acts as may be necessary or desirable in
connection with the DIP Loan Documents;

       (iii)   authorizing the use of Cash Collateral (defined below) as set forth herein;

        (iv)    pursuant to Section 364(c)(2) of the Bankruptcy Code, granting the DIP Lender,
valid, enforceable, non-avoidable, automatically and fully perfected first priority liens on and
security interests in all DIP Collateral (as defined below) that is not otherwise subject to a valid,
perfected and unavoidable security interest or lien as of the Petition Date (as defined below) to
secure any and all obligations owing under and with respect to the DIP Facility and the DIP Loan
Documents (collectively, and including, without limitation, all “Obligations” as defined in the
DIP Loan Agreement, the “DIP Obligations”), subject only to the Carve-Out (as defined below);

        (v)    pursuant to Section 364(c)(3) of the Bankruptcy Code, granting the DIP Lender,
for the purpose of securing the DIP Obligations, valid, enforceable, non-avoidable, automatically
and fully perfected junior liens on and security interests in all present and after-acquired DIP
Collateral, wherever located, subject only to Permitted Prior Liens and the Carve-Out;

       (vi)    pursuant to Section 364(d)(1) of the Bankruptcy Code, granting DIP Lender, for
the purpose of securing the DIP Obligations, valid, enforceable, non-avoidable, automatically
and fully perfected first priority senior priming liens on and security interests in all DIP
Collateral, wherever located, subject only to Permitted Prior Liens and the Carve-Out;

        (vii) pursuant to Section 364(c)(1) of the Bankruptcy Code, granting all of the claims
of the DIP Lender on account of the DIP Obligations allowed superpriority administrative
expense claim status in each of the Cases with priority over any and all administrative expenses
of the kind specified in or arising under any section of the Bankruptcy Code (including, without
limitation, sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 546(c), 726 or 1114
of the Bankruptcy Code), subject only to the Carve-Out;

      (viii) providing adequate protection to the Pre-Petition Lender (as defined below) for
any Diminution in Value (as defined below) of its interests in the Pre-Petition Collateral;



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        (ix)   authorizing the Debtors to pay the principal, interest, fees, expenses and other
amounts payable under the DIP Loan Documents as such amounts become due and payable,
including, without limitation, application fees, origination fees, commitment fees, and the fees
and disbursements of the respective attorneys, advisors, accountants and other consultants
engaged by the DIP Lender, all to the extent provided in, and in accordance with the terms of,
this Interim Order, the DIP Loan Agreement and the other DIP Loan Documents;

       (x)    modifying the automatic stay imposed by Section 362 of the Bankruptcy Code to
the extent necessary to implement and effectuate the terms and provisions of the DIP Loan
Documents and this Interim Order; and

      (xi)    scheduling a final hearing (the “Final Hearing”) to consider the relief requested in
the Motion and approving the form of notice with respect to the Final Hearing;

and this Court having considered the Motion, the Declaration of Mark Rosenblum, Chairman

and Chief Executive Officer of Debtors’, in Support of Chapter 11 Petitions and First Day

Pleadings, the exhibits attached thereto, the DIP Loan Documents, and the record established at

the interim hearing held on July _____, 2018 to consider the interim relief requested in the

Motion (the “Interim Hearing”); and notice of the Interim Hearing having been given in

accordance with Bankruptcy Rules 4001(b), (c) and (d), and 9014 and all applicable Local Rules;

and the Interim Hearing having been held and concluded; and all objections, if any, to the interim

relief requested in the Motion having been withdrawn, resolved or overruled by this Court; and it

appearing to this Court that granting the interim relief requested in the Motion is necessary to

avoid immediate and irreparable harm to the Debtors and their estates pending the Final Hearing,

and otherwise is fair and reasonable and in the best interests of the Debtors, their estate, and their

creditors, and is essential for the continued operation of the Debtors’ businesses; and it further

appearing that the Debtors are unable to obtain unsecured credit for money borrowed allowable

as an administrative expense under Section 503(b)(1) of the Bankruptcy Code; and adequate

protection being provided on account of the interests of certain holders of liens on the property of




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the Debtors’ estates on which liens are to be granted; and after due deliberation and

consideration, and for good and sufficient cause appearing therefor:

BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THIS

COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS
              3
OF LAW:

         A.       Petition Date. On the date of the Motion (the “Petition Date”), each of the

Debtors filed a separate, voluntary petition under Chapter 11 of the Bankruptcy Code in the

United States Bankruptcy Court for the District of Delaware (this “Court”) commencing these

Cases.

         B.       Debtors-in-Possession.    The Debtors continue to manage and operate their

businesses and properties as debtors-in-possession pursuant to Sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in any of the Cases.

         C.       Jurisdiction and Venue.     This Court has jurisdiction, pursuant to 28 U.S.C.

§§ 157(b) and 1334, over these proceedings, and over the persons and property affected hereby.

Consideration of the Motion constitutes a core proceeding under 28 U.S.C. § 157(b)(2), and the

Debtors confirmed their consent pursuant to Local Rule 9013-1(f) to the entry of a final order by

the Court in connection with the Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection with the

Motion consistent with Article III of the United States Constitution. The statutory predicates for

the relief set forth herein are Sections 105, 361, 362, 363, 364, 503 and 507 of the Bankruptcy

Code, Rules 2002, 4001 and 9014 of the Bankruptcy Rules and the Local Rules. Venue for these




3
    Where appropriate in this Interim Order, findings of fact shall be construed as conclusions of law and
conclusions of law shall be construed as findings of fact pursuant to Bankruptcy Rule 7052.
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Cases and proceedings on the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and

1409.

        D.     Committee Formation.         As of the date hereof, the United States Trustee

(the “U.S. Trustee”) has not yet appointed an official committee of unsecured creditors in these

Cases (the “Committee”).

        E.     Debtors’ Stipulations.      Subject to paragraph 43 hereof, the Debtor admit,

stipulate, acknowledge, and agree that:

                (i)   Prior to the Petition Date, ActiveCare and Partners For Growth IV, L.P.
(the “Pre-Petition Lender”) entered into that certain Loan and Security Agreement, dated as of
February 19, 2016 (as amended, restated, supplemented or otherwise modified from time to time,
the “Pre-Petition Loan Agreement”). On July 2, 2018, 4G Biometrics executed a Joinder to Loan
and Security Agreement, joining 4G Biometrics as a co-Borrower under the Pre-Petition Loan
Agreement.

                (ii)   The Pre-Petition Loan Agreement, and the other agreements, documents,
instruments and certificates executed by the Debtors or otherwise delivered in connection with
the Pre-Petition Loan Agreement (collectively, the “Pre-Petition Loan Documents”) are valid and
enforceable in accordance with their terms against each of the Debtors, are not subject to any
offset, defense, claim, counterclaim or diminution of any type, kind or nature whatsoever, and
are not subject to avoidance, subordination, recovery, disallowance, recharacterization or other
challenge pursuant to applicable state or federal law (including, without limitation, the
Bankruptcy Code).

               (iii)   Pursuant to the Pre-Petition Loan Documents, the Pre-Petition Lender
agreed to provide the Debtors with revolving loans and term loans in an aggregate principal
amount of up to $4,500,000. As of the Petition Date, the outstanding principal amount owed by
the Debtors with respect to the revolving loans, term loans and other protective advances made
under the Pre-Petition Loan Agreement was not less than $4,863,976.15 (collectively, together
with any amounts incurred or accrued but unpaid prior to the Petition Date in accordance with
the Pre-Petition Loan Documents, including, without limitation, accrued and unpaid interest, any
fees, expenses and disbursements (including, without limitation, attorneys’ fees, financial
advisors’ fees, related expenses and disbursements), indemnification obligations, any other
charges, amounts and costs of whatever nature owing, whether or not contingent, whenever
arising, accrued, accruing, due, owing or chargeable in respect of any of the Debtors’ obligations
pursuant to the Pre-Petition Loan Documents, the “Pre-Petition Obligations”).

               (iv)   The Pre-Petition Obligations are legal, binding and enforceable
obligations of the Debtors and are not subject to any offset, defense, claim, counterclaim or any
other diminution of any type, kind or nature whatsoever. No portion of the Pre-Petition

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Obligations, or any funds previously paid to the Pre-Petition Lender is subject to avoidance,
subordination, recovery, disallowance, recharacterization or other challenge pursuant to the
Bankruptcy Code (including, but not limited to, Section 502(d) of the Bankruptcy Code) or
applicable non-bankruptcy law.

                (v)    To secure the Pre-Petition Obligations, the Debtors granted to the Pre-
Petition Lender a first priority security interests in and liens on (collectively, the “Pre-Petition
Liens”), substantially all assets and properties of the Debtors, as more specifically set forth in the
Pre-Petition Loan Agreement, including, without limitation, all Accounts4, all Inventory, all
Equipment, all Collateral Accounts, including Deposit Accounts (including all of the Debtors’
cash, the “Cash Collateral”), all General Intangibles (including without limitation all Intellectual
Property); all Investment Property; all Other Property; and any and all claims, rights and interests
in any of the above, and all guaranties and security for the any of the above, and all substitutions
and replacements for, additions, accession, attachments, accessories, and improvements to, and
proceeds (including proceeds of any insurance policies, proceeds of proceeds and claims against
third parties) of any of and all of the above; and all Debtors’ books relating to any of the above
(collectively, and as defined as “Collateral” in the Pre-Petition Loan Agreement, the “Pre-
Petition Collateral”).

                (vi)   The Pre-Petition Lender filed: (a) UCC-1 Financing Statements regarding
the Pre-Petition Collateral against the Debtors in the applicable state and/or county filing offices;
and (b) notices of security interest regarding the Pre-Petition Collateral consisting of intellectual
property in the applicable filing offices.

                (vii) Subject to the Carve-Out and the provisions of paragraph 43 hereof: (a)
the Pre-Petition liens and security interests granted to the Pre-Petition Lender are senior in
priority to all other liens on or security interests in the Pre-Petition Collateral, subject only to
certain liens otherwise permitted by the Pre-Petition Loan Documents (to the extent any such
permitted liens were existing, valid, enforceable, properly perfected, non-avoidable, not subject
to subordination, recharacterization or other challenge and senior in priority to the Pre-Petition
Liens as of the Petition Date, the “Permitted Prior Liens”); (b) the Pre-Petition Liens held by the
Pre-Petition Lender are valid, binding, enforceable, non-avoidable and perfected; (c) the Pre-
Petition Obligations constitute legal, valid, binding and non-avoidable obligations of the Debtors,
enforceable in accordance with the terms of the Pre-Petition Loan Documents (other than in
respect of the stay of enforcement arising from Section 362 of the Bankruptcy Code); (d) no
offsets, challenges, objections, defenses, claims or counterclaims of any kind or nature to any of
the Pre-Petition Liens or the Pre-Petition Obligations exist, and no portion of the Pre-Petition
Liens or the Pre-Petition Obligations is subject to any challenge or defense, including, without
limitation, avoidance, disgorgement, recharacterization or subordination pursuant to the
Bankruptcy Code or applicable non-bankruptcy law; (e) the Debtors and their estates have no
offsets, defenses, claims, objections, challenges, causes of action and/or choses in action,
including, without limitation, avoidance claims under Chapter 5 of the Bankruptcy Code, against
the Pre-Petition Lender and/or any of its affiliates, parents, subsidiaries, controlling persons,


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         Capitalized terms not otherwise defined in this sub-paragraph shall the meanings ascribed to them in the
Pre-Petition Loan Documents.
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agents, attorneys, advisors, professionals, officers, directors and employees; and (g) the Debtors
have waived, discharged and released any right they may have to challenge any of the Pre-
Petition Obligations, the priority of the Pre-Petition Obligations and the security for (and the
priority of the liens securing) the Pre-Petition Obligations, and to assert any offsets, defenses,
claims, objections, subordination, challenges, causes of action and/or choses of action against the
Pre-Petition Lender and/or any of its affiliates, parents, subsidiaries, controlling persons, agents,
attorneys, advisors, professionals, officers, directors or employees relating thereto.

                (viii) The Debtors represent that all of the Debtors’ cash as of the entry of this
Interim Order, including the cash in their deposit accounts, wherever located, whether as original
Pre-Petition Collateral or proceeds of other Pre-Petition Collateral, constitute the Pre-Petition
Collateral of the Pre-Petition Lender.

               (ix)    The Debtors acknowledge and stipulate that Debtors are in default of their
debts and obligations under the Pre-Petition Loan Documents.

       F.      Terms and Conditions of Post-Petition Financing.            The Pre-Petition Loan

Documents shall constitute the Post-Petition Loan Documents, with the exceptions set forth in

Appendix A, attached hereto to this Interim Order. To the extent there is any express conflict

between the terms of the Post-Petition Loan Documents and the terms of this Interim Order, the

terms of this Interim Order shall control.

       G.      Findings Regarding the Post-Petition Financing.

               (i)     Request for Post-Petition Financing.       The Debtors seek authority to:

(a) enter into the DIP Facility on the terms described herein and in the DIP Loan Documents; and

(b) use the proceeds of the DIP Facility, in an aggregate amount not to exceed $800,000, on the

terms described herein. At the Final Hearing, the Debtors will seek final approval of the DIP

Loan Documents and the proposed post-petition financing arrangements contained therein

pursuant to a proposed final order (the “Final Order”), which shall be in form and substance

acceptable to the DIP Lender in all respects, and notice of the Final Hearing and Final Order will

be provided in accordance with this Interim Order. Good cause has been shown for the entry of

this Interim Order.


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               (ii)    Priming of Pre-Petition Liens. The priming of the liens granted to the DIP

Lender, as contemplated by this Interim Order and the DIP Facility and as further described

below, will enable the Debtors to obtain the DIP Facility and to continue to operate their

businesses for the benefit of their estates and creditors. The Pre-Petition Lender has consented to

the priming of its liens and claims; however, only on the terms and conditions set forth in this

Interim Order and the DIP Loan Agreement. As a result of the priming, the Pre-Petition Lender

is entitled to receive adequate protection as set forth in this Interim Order pursuant to Sections

361, 363 and 364 of the Bankruptcy Code, for and to the extent of any diminution in the value of

its interests in the Pre-Petition Collateral resulting from, among other things, the Debtors’ use,

sale or lease of such collateral, market value decline of such collateral, the imposition of the

automatic stay, the subordination to the Carve-Out and the priming (to the extent provided for

herein) of the Pre-Petition Liens (the “Diminution in Value”).

               (iii)   Need for Post-Petition Financing. The Debtors’ obtaining credit on an

interim basis pursuant to the DIP Facility as provided for herein is necessary to avoid immediate

and irreparable harm to the Debtors, their estates, their creditors and other parties-in-interest, and

to enable the Debtors to continue operations and to administer and preserve the value of their

estates. The ability of the Debtors to finance their operations, to maintain business relationships

with their vendors, suppliers and customers, to pay their employees and otherwise to finance

their operations through the Chapter 11 process requires the availability of working capital from

the DIP Facility. Without the ability to use Cash Collateral and access the Interim Financing (as

defined below) and the DIP Facility, the Debtors, their estates and their creditors would suffer

immediate and irreparable harm.       The Debtors do not have sufficient available sources of




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working capital or financing to operate their businesses or maintain their properties in the

ordinary course of business without the DIP Facility.

               (iv)    No Credit Available on More Favorable Terms.            Given their current

financial condition, financing arrangements and capital structure, the Debtors are unable to

obtain financing from sources other than the DIP Lender on terms more favorable than provided

for in the DIP Facility. The Debtors have been unable to obtain unsecured credit allowable

under Section 503(b)(1) of the Bankruptcy Code as an administrative expense. The Debtors

have also been unable to obtain sufficient credit (a) having priority over that of administrative

expenses of the kind specified in Sections 503(b), 507(a) and 507(b) of the Bankruptcy Code, (b)

secured by a lien on property of the Debtors and their estates that is not otherwise subject to a

lien, or (c) secured solely by a junior lien on property of the Debtors and their estates that is

subject to a lien. Financing on a post-petition basis is not otherwise available without granting

the DIP Lender, (1) perfected security interests in and liens on (each as provided herein) all of

the Debtors’ existing and after-acquired assets with the priorities set forth herein, (2)

superpriority claims, and (3) the other protections set forth in the Interim Order and Final Order.

               (v)     Use of Proceeds of the DIP Facility. As a condition to entering into the

DIP Loan Agreement, the extension of credit under the DIP Facility and the authorization to use

the proceeds of the DIP Facility, the DIP Lender requires, and the Debtors have agreed, that the

proceeds of the DIP Facility shall be used, in each case in a manner consistent with the terms and

conditions of the DIP Loan Documents and in accordance with an Approved Budget, solely for

(a) working capital and other general corporate purposes of the Debtors, (b) payment of the costs

of administration of the Cases, including, without limitation, the costs, fees and expenses

incurred (I) in connection with the DIP Facility, and (II) by the Pre-Petition Lender in connection


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with the Cases, in each case, to the extent such costs, fees and expenses are reimbursable

pursuant to the terms of the Pre-Petition Loan Documents, as applicable, and (c) subject to

paragraph 43, repayment of the Post-Petition cash collections in accordance with the DIP Loan

Documents reducing the Post-Petition Obligations due to the DIP Lender.

       H.      Adequate Protection. The Pre-Petition Lender is entitled to receive adequate

protection to the extent of any Diminution in Value of its interests in the Pre-Petition Collateral.

Pursuant to Sections 361, 363 and 507(b) of the Bankruptcy Code and subject to the terms of this

Interim Order, as adequate protection, the Pre-Petition Lender will receive the adequate

protection liens and claims, and the professional and other expense reimbursements, as more

fully set forth in paragraph 17 herein.




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        I.     New Loan. The DIP Facility (including the Interim Financing) constitutes new

loans and financial accommodations from the DIP Lender to the Debtors, separate and distinct

from the loans and financial accommodations provided prior to the Petition Date under the Pre-

Petition Loan Documents, and the proceeds of the DIP Facility may only be borrowed, and such

proceeds may only be used in compliance with an Approved Budget, the DIP Loan Agreement

and this Interim Order.

        J.     Sections 506(c) and 552(b). In exchange for (i) the DIP Lender’s agreement to

subordinate its liens and superpriority claims to the Carve-Out, and (ii) the Pre-Petition Lender’s

agreement to subordinate its Pre-Petition Liens to the DIP Liens and the Carve-Out, subject to

entry of the Final Order providing for such relief, each of the Pre-Petition Lender and the DIP

Lender shall receive: (a) a waiver of any “equities of the case” claims under Section 552(b) of

the Bankruptcy Code; and (b) a waiver of the provisions of Section 506(c) of the Bankruptcy

Code.

        K.     Good Faith of the DIP Lender; Debtors’ Business Judgment.

               (i)     Willingness to Provide Financing.         The DIP Lender has indicated a

willingness to provide financing to the Debtors subject to: (a) the entry by this Court of this

Interim Order and the Final Order; (b) approval by this Court of the terms and conditions of the

DIP Facility and the DIP Loan Documents; and (c) entry of findings by this Court that such

financing is essential to the Debtors’ estates, that the DIP Lender is extending post-petition credit

to the Debtors pursuant to the DIP Loan Documents and this Interim Order in good faith, and

that the DIP Lender’s claims, superpriority claims, security interests and liens and other

protections granted pursuant to this Interim Order and the DIP Loan Documents will have the

protections provided in Section 364(e) of the Bankruptcy Code and will not be affected by any


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subsequent reversal, modification, vacatur, amendment, re-argument or reconsideration of this

Interim Order or any other order for amounts loaned or advanced pursuant to this Interim Order.

               (ii)    Business Judgment and Good Faith Pursuant to Section 364(e). The

extension of credit under the DIP Facility, governed by the terms and conditions of the DIP Loan

Documents, the fees paid and to be paid thereunder, and this Interim Order as it relates to the

Interim Financing: (a) are fair and reasonable; (b) are the best available to the Debtors under the

circumstances; (c) reflect the Debtors’ exercise of prudent business judgment consistent with

their fiduciary duties; and (d) are supported by reasonably equivalent value and fair

consideration. The DIP Facility was negotiated in good faith and at arms’ length between the

Debtors and the DIP Lender. The credit to be extended under the DIP Facility shall be deemed

to have been allowed, advanced, made, used and/or extended in good faith, and for valid

business purposes and uses, within the meaning of Section 364(e) of the Bankruptcy Code, and

the DIP Lender is therefore entitled to the protection and benefits of Section 364(e) of the

Bankruptcy Code and this Interim Order.

       L.      Notice. Notice of the Interim Hearing and the emergency relief requested in the

Motion has been provided by the Debtors, whether by facsimile, email, overnight courier or hand

delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii) the Internal Revenue

Service; (iii) the parties included on the Debtors’ consolidated list of their thirty (30) largest

unsecured creditors; (iv) counsel to the DIP Lender; (v) counsel to Pre-Petition Lender; (vi) all

other known parties with liens of record on assets of the Debtors as of the Petition Date; (vii) all

financial institutions at which the Debtors maintain deposit accounts; (x) the landlords for all

non-residential real properties occupied by the Debtors as of the Petition Date; and (xi) all other

parties required to receive notice pursuant to Bankruptcy Rules 2002, 4001 or 9014 and


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applicable Local Rules or requesting to receive notice prior to the date hereof. The Debtors have

made reasonable efforts to afford appropriate notice under the circumstances, and such notice of

the Motion and the Interim Hearing is good and sufficient to permit the interim relief set forth in

this Interim Order.

       M.      Immediate Entry. The Debtors have requested immediate entry of this Interim

Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and the Local Rules. Absent

entry of this Interim Order, the Debtors’ businesses, properties and estates will be immediately

and irreparably harmed. This Court concludes that sufficient cause exists therefor and that entry

of this Interim Order is in the best interest of the Debtors’ respective estates and creditors as its

implementation will, among other things, allow for the continued operation of the Debtors’

existing businesses.

       N.      Necessity and Best Interest. An immediate and critical need exists for the Debtors

to obtain authority for use of Cash Collateral and to secure the DIP Facility to maintain the

stability of their businesses. The Debtors (in consultation with their advisors) has determined

that (1) the Approved Budget is reasonable and will allow the Debtors to operate in these Cases

without the accrual of unpaid allowed administrative expenses; and (2) the Approved Budget

includes all reasonable, necessary, and foreseeable expenses to be incurred for the period set

forth therein. It is in the best interests of the Debtors’ estates that they be allowed to use Cash

Collateral and obtain Interim Financing on the terms and conditions set forth herein. The relief

requested by the Motion is necessary to avoid harm to the Debtors’ estates, and good, adequate,

and sufficient cause has been shown to justify the granting of the relief requested herein, and the

immediate entry of this Interim Order. The terms of the use of Cash Collateral and the Interim

Financing are fair and reasonable, reflect the Debtors’ exercise of prudent business judgment


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consistent with their fiduciary duties, and constitute reasonably equivalent value and fair

consideration.

       Based upon the foregoing findings and conclusions, the Motion and the record made

before this Court with respect to the Motion at the Interim Hearing, and good and sufficient

cause appearing therefor,

       IT IS HEREBY ORDERED that:

       1.        Interim Financing Approved.      The Motion is granted to the extent provided

herein, and the Interim Financing and use of Cash Collateral is authorized and approved, subject

to the terms and conditions set forth in this Interim Order and the DIP Loan Documents.

       2.        Objections Overruled. All objections to the interim relief sought in the Motion to

the extent not previously withdrawn, overruled or resolved are hereby overruled on the merits

and denied with prejudice.

       3.        Authorization to Use Cash Collateral. The Debtors are authorized to use Cash

Collateral solely to pay the Post-Petition Obligations as set forth in Paragraph 4 of this Interim

Order and otherwise in accordance with and pursuant to the terms and provisions herein.

       4.        Use of Cash Collateral. Unless otherwise agreed to by the DIP Lender, the

Debtors shall use the proceeds of the DIP Facility solely for operating working capital purposes

and chapter 11 administrative costs in the amounts and otherwise in accordance with and for the

purposes provided for in the Approved Budget.

                                    DIP Facility Authorization

       5.        Authorization of the DIP Facility. The DIP Facility and the Interim Financing are

hereby approved by this Interim Order. The Debtors are expressly and immediately authorized

and empowered to execute and deliver the DIP Loan Documents, and to incur and to perform the

DIP Obligations in accordance with, and subject to, the terms of this Interim Order and the DIP
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Loan Documents, and to deliver any and all instruments and documents that may be required or

necessary for the performance by the Debtors under the DIP Facility and the creation and

perfection of the DIP Liens. The Debtors are hereby authorized, empowered and directed to pay,

in accordance with this Interim Order, the principal, interest, fees, expenses, legal fees and other

amounts described in the DIP Loan Documents, as such become due and payable and without the

need to obtain further approval of this Court, including, without limitation, commitment fees,

application fees, origination fees, and the fees and disbursements that are chargeable and

reimbursable under the DIP Loan Agreement. Each officer of the Debtors are hereby authorized

to execute and deliver each of the DIP Loan Documents, such execution and delivery to be

conclusive of such officer’s authority to act in the name of and on behalf of the Debtors. Upon

execution and delivery, the DIP Loan Documents shall represent valid and binding obligations of

the Debtors, enforceable against the Debtors and their estates in accordance with their terms.

       6.      Authorization to Borrow. Prior to the entry of the Final Order, and to prevent

immediate and irreparable harm to the Debtors’ estates, the Debtors are hereby authorized to

borrow an aggregate principal amount of $300,000 (the “Interim Financing”), subject to the

terms and conditions set forth in the DIP Loan Documents and this Interim Order.

       7.      DIP Obligations. Upon its entry, this Interim Order shall constitute and evidence

the validity and binding effect of the DIP Obligations, which DIP Obligations shall be

enforceable against the Debtors, their estates and any successors thereto, including, without

limitation, any trustee appointed in any of the Cases, or any case under Chapter 7 of the

Bankruptcy Code upon the conversion of any of the Cases, or in any other proceedings

superseding or related to any of the foregoing (collectively, the “Successor Cases”). Upon entry

of this Interim Order, the DIP Obligations will include all post-petition loans and any other post-


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petition indebtedness or obligations, contingent or absolute, that may now or from time-to-time

be owing by any of the Debtors to the DIP Lender under this Interim Order and the DIP Loan

Documents, including, without limitation, all principal, accrued interest, costs, fees, expenses

and other amounts due under the DIP Facility as set forth herein. The DIP Obligations shall be

due and payable as provided for herein and in the DIP Loan Documents.

       8.     [Reserved].

       9.     DIP Liens. To secure the DIP Obligations, effective immediately upon entry of

this Interim Order, pursuant to Sections 361, 362, 364(c)(2), 364(c)(3) and 364(d) of the

Bankruptcy Code, as set forth more fully in the DIP Loan Documents, the DIP Lender, is hereby

granted continuing, valid, binding, enforceable, non-avoidable, and automatically and properly

perfected post-petition, priming, first-priority security interests in and liens (collectively,

the “Priming DIP Liens”) on all assets or property of the Debtors, subject to the Carve-Out and

Permitted Prior Liens, in each case, whether now owned by or owing to, or hereafter acquired by

or arising in favor of the Debtors (including under any trade names, styles, or derivations

thereof), and whether owned or consigned by or to, or leased from or to, the Debtors, and

regardless of where located, including, without limitation: all Pre-Petition Collateral; all

Accounts; all Inventory; all Equipment; all Collateral Accounts, including Deposit Accounts; all

General Intangibles (including without limitation all Receivables and Intellectual Property); all

Investment Property; all Other Property; any and all claims and/or causes of action existing

under the Bankruptcy Code, including, but not limited to, subject to entry of the Final Order,

claims and/or causes of action existing under Sections 542, 544, 547, 548, 549, and/or 550 of the

Bankruptcy Code (collectively the “Avoidance Actions”); all equity interests in another Person

owned by any Debtor; and any and all claims, rights and interests in any of the above, and all


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guaranties and security for any of the above, and all substitutions and replacements for,

additions, accessions, attachments, accessories, and improvements to, and proceeds (including,

but not limited to, proceeds of proceeds, claims against third parties, any claim to any item

referred to in this definition, and any claim against any third party for loss of, damage to or

destruction of any or all of, the aforementioned collateral or for proceeds payable under, or

unearned premiums with respect to, policies of insurance) of, any and all of the above, all

Debtors’ books relating to any of the above, and any and all products and proceeds of the

foregoing in whatever form, including, but not limited to, cash, negotiable instruments and other

instruments for the payment of money, chattel paper, security agreements and other documents;

subject to entry of the Final Order providing for such relief, the Debtors’ rights under Section

506(c) of the Bankruptcy Code; and to the extent not covered by the foregoing, all other assets or

property of the Debtors (subject to any exclusions contained in the DIP Loan Agreement),

whether tangible, intangible, real, personal or mixed, and all proceeds and products of each of

the foregoing and all accessions to, substitutions and replacements for, and rents, profits and

products of, each of the foregoing, any and all proceeds of any insurance, indemnity, warranty or

guaranty payable to such Debtor from time to time with respect to any of the foregoing (all of

which being hereinafter collectively referred to as the “DIP Collateral”), as collateral security for

the prompt and complete payment and performance when due (whether at the stated maturity, by

acceleration or otherwise) of the DIP Obligations. The Pre-Petition Liens shall continue, shall

(to the extent that any of the Pre-Petition Obligations are refinanced) inure to the benefit of the

DIP Lender, shall secure the DIP Obligations, and shall be included in the definition of “DIP

Liens.” Notwithstanding anything contained herein to the contrary, subject to entry of the Final

Order providing for such relief, any provision of any lease or other license, contract or other


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agreement that requires (x) the consent or approval of one or more landlords or other parties or

(y) the payment of any fees or obligations to any governmental entity, in order for any Debtor to

pledge, grant, sell, assign, or otherwise transfer any such leasehold interest or other license,

contract or other agreement, or the proceeds thereof, or other post-petition collateral related

thereto, will be deemed to be inconsistent with the applicable provisions of the Bankruptcy Code.

Any such provision shall have no force and effect with respect to the transactions granting post-

petition liens in such leasehold interest or other license, contract or other agreement, or the

proceeds of any assignment and/or sale thereof by any Debtor, in favor of the DIP Lender or the

Pre-Petition Lender in accordance with the terms of the DIP Loan Documents or this Interim

Order. Subject to entry of the Final Order, all landlord agreements or bailee waivers to which

any of the Pre-Petition Lender is a party shall be deemed amended to include the DIP Lender as a

beneficiary thereunder, and such agreements shall thereafter be additionally enforceable by the

DIP Lender against, and binding upon, each landlord or bailee party thereto in accordance with,

and subject to, its respective terms and conditions until the DIP Obligations have been paid in

full in cash and the DIP Loan Agreement shall have been terminated.




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      10.      DIP Lien Priority.

               (a)           The DIP Lender, and for the purpose of securing the DIP Obligations,

shall have the following DIP Liens:

                      (i)           Pursuant to Section 364(c)(2) of the Bankruptcy Code, valid,

       enforceable, non-avoidable automatically and fully perfected first priority liens on and

       security interests in all DIP Collateral that is not otherwise subject to a valid, perfected

       and unavoidable security interest or lien as of the Petition Date, subject only to the Carve-

       Out;

                     (ii)           Pursuant to Section 364(c)(3) of the Bankruptcy Code, valid,

       enforceable, non-avoidable, automatically and fully perfected junior liens on and security

       interests in all DIP Collateral, wherever located, subject only to Permitted Prior Liens, the

       Pre-Petition Liens and the Carve-Out;

                     (iii)          Pursuant to Section 364(d)(1) of the Bankruptcy Code, valid,

       enforceable, non-avoidable, automatically and fully perfected first priority senior priming

       liens on and security interests in all DIP Collateral securing the Pre-Petition Obligations,

       subject only to Permitted Prior Liens.

               (b)           Except as expressly set forth herein, absent further order of the Court, the

DIP Liens shall not be made subject to or pari passu with any lien or security interest heretofore

or hereinafter granted in the Cases, and shall be valid and enforceable against any trustee

appointed in the Cases, upon the conversion of any of the Cases to a case under Chapter 7 of the

Bankruptcy Code, and/or upon the dismissal of any of the Cases or any Successor Cases, subject

only to the Carve-Out. The DIP Liens shall not be subject to (i) Sections 510, 549 or 550 of the

Bankruptcy Code, or (ii) subject to entry of the Final Order providing for such relief, Sections


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506(c) or 551 of the Bankruptcy Code. No lien or interest avoided and preserved for the benefit

of the estate pursuant to Section 551 of the Bankruptcy Code shall be pari passu with or senior to

the DIP Liens.

      11.        Protection of DIP Lender’ Rights. So long as there are any DIP Obligations

outstanding, the Pre-Petition Lender shall: (a) have no right to, and take no action to, foreclose

upon or recover in connection with the liens granted thereto pursuant to the Pre-Petition Loan

Documents, this Interim Order or otherwise or seek or exercise any enforcement rights or

remedies against any DIP Collateral or in connection with the debt and obligations underlying

the Pre-Petition Loan Documents or the Adequate Protection Liens (as defined below),

including, without limitation, in respect of the occurrence or continuance of any Event of Default

(as defined in the Pre-Petition Loan Agreement); (b) be deemed to have consented to any release

of DIP Collateral authorized under the DIP Loan Documents; (c) not file any further financing

statements, trademark filings, copyright filings, mortgages, memoranda of lease, notices of lien

or similar instruments, or otherwise take any action to perfect its security interests in the DIP

Collateral unless, solely as to this clause (c), the DIP Lender files financing statements or other

documents to perfect the liens granted pursuant to the DIP Loan Documents and/or this Interim

Order, or as may be required by applicable state law to continue the perfection of valid and

unavoidable liens or security interests as of the date of filing; and (d) deliver or cause to be

delivered, at the Debtors’ cost and expense (for which the Pre-Petition Lender shall be

reimbursed for reasonable costs and expenses upon submission to the Debtors of invoices or

billing statements), any termination statements, releases and/or assignments (to the extent

provided for herein) in favor of the DIP Lender or other documents necessary to effectuate

and/or evidence the release, termination and/or assignment of the Adequate Protection Liens on


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any portion of the DIP Collateral subject to any sale or disposition approved or arranged for by

the DIP Lender.

      12.      Superpriority DIP Claim. Subject to the Carve-Out, upon entry of this Interim

Order, the DIP Lender is hereby granted, pursuant to Section 364(c)(1) of the Bankruptcy Code,

an allowed superpriority administrative expense claim (the “Superpriority DIP Claim”), in each

of the Cases, for all of the DIP Obligations: (a) with priority over any and all administrative

expense claims and unsecured claims against the Debtors or their estates in any of the Cases, at

any time existing or arising, of any kind or nature whatsoever, including, without limitation, (i)

administrative expenses of the kinds specified in or ordered pursuant to Sections 105, 326, 328,

330, 331, 365, 503(a), 503(b), 507(a), 507(b), 546(c), 546(d), 726 (to the extent permitted by

law), 1113 and 1114 of the Bankruptcy Code, and any other provision of the Bankruptcy Code,

as provided under Section 364(c)(1) of the Bankruptcy Code, (ii) any claims allowed pursuant to

the Pre-Petition Obligations and (iii) the Pre-Petition Lender Superpriority Claims; and (b) which

shall at all times be senior to the rights of the Debtors and their estates (other than the Carve-

Out), and any successor trustee or other estate representative to the extent permitted by law.

      13.      Extension of Credit. The DIP Lender shall have no obligation to make any loan

or advance under the DIP Loan Documents, unless all of the conditions precedent to the making

of such extension of credit under this Interim Order and the DIP Loan Documents have been

satisfied in full or waived in accordance with the DIP Loan Documents.

      14.      Use of DIP Facility Proceeds.

               (a)     The proceeds of the DIP Facility will be used only for the following

purposes, in each case in accordance with and subject to an Approved Budget and except as

otherwise agreed by the DIP Lender: (i) working capital and other general corporate purposes of


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the Debtors, (ii) payment of the costs of administration of the Cases, including, without

limitation, the costs, fees and expenses incurred (A) in connection with the DIP Facility, and (B)

by the Pre-Petition Lender in connection with the Cases, in each case, to the extent such costs,

fees and expenses are reimbursable pursuant to the terms of the Pre-Petition Loan Documents,

and (iii) subject to paragraph 43, repayment of the Post-Petition cash collections in accordance

with the DIP Loan Documents reducing the Post-Petition Obligations due to the DIP Lender.

               (b)     Without in any way limiting the foregoing, no DIP Collateral, proceeds of

the DIP Loans, any portion of the Carve-Out or any other amounts may be used directly or

indirectly, without the prior written consent of the DIP Lender, by any of the Debtors, the

Committee, if any, any other committee, or any trustee or other estate representative appointed in

the Cases or Successor Cases, or any other person or entity (or to pay any professional fees,

disbursements, costs or expenses incurred in connection therewith): (i) to seek authorization to

obtain liens or security interests that are senior to, or on a parity with, the DIP Liens or the

Superpriority DIP Claim (except to the extent expressly set forth in the DIP Loan Documents),

the Adequate Protection Liens or the Pre-Petition Lender Superpriority Claims, or the Pre-

Petition Liens; (ii) to investigate (including by way of examinations or discovery proceedings),

prepare, assert, join, commence, support or prosecute any action for any claim, counter-claim,

action, proceeding, application, motion, objection, defense, or other contested matter seeking any

order, judgment, determination or similar relief against, or adverse to the interests of, in any

capacity, any of the DIP Lender, the Pre-Petition Lender, or any of their controlling persons,

affiliates or successors or assigns, and each of the respective officers, directors, employees,

agents, attorneys, or advisors of each of the foregoing (collectively, the “Released Parties”), with

respect to any transaction, occurrence, omission, action or other matter (including formal


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discovery proceedings in anticipation thereof), including, without limitation, (A) any claims or

causes of action arising under Chapter 5 of the Bankruptcy Code, (B) any so-called “lender

liability” claims and causes of action, (C) any action with respect to the validity, enforceability,

priority and extent of, or asserting any defense, counterclaim, or offset to, the DIP Obligations,

the Pre-Petition Lender Superpriority Claims, the DIP Liens, the DIP Loan Documents, the Pre-

Petition Loan Documents or the Pre-Petition Obligations, (D) any action seeking to invalidate,

modify, set aside, avoid or subordinate, in whole or in part, the DIP Obligations or the Pre-

Petition Obligations, (E) any action seeking to modify any of the rights, remedies, priorities,

privileges, protections and benefits granted to either (1) the DIP Lender hereunder or under any

of the DIP Loan Documents, or (2) the Pre-Petition Lender under any of the Pre-Petition Loan

Documents (in each case, including, without limitation, claims, proceedings or actions that might

prevent, hinder or delay any of the DIP Lender’ or the Pre-Petition Lender’s assertions,

enforcements, realizations or remedies on or against the DIP Collateral in accordance with the

applicable DIP Loan Documents, Pre-Petition Loan Documents and the Interim and/or Final

Orders), or (F) objecting to, contesting, or interfering with, in any way, the DIP Lender’ and the

Pre-Petition Lender’s enforcement or realization upon any of the DIP Collateral once an Event of

Default (as defined in the DIP Loan Agreement) has occurred; provided, however, that no more

than $25,000 in the aggregate of the DIP Collateral, the Carve-Out and proceeds from the

borrowings under the DIP Facility may be used by any Committee to investigate claims against

the DIP Lender and/or liens granted to the Pre-Petition Lender under the Pre-Petition Loan

Documents.

      15.      Termination Events.      The occurrence of any of the following events (the

“Termination Events”) shall constitute an Event of Default under the DIP Loan Agreement and a


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termination event under this Interim Order:

                (a)    for a period in excess of three (3) calendar days, reversal, vacatur or stay
of the effectiveness of this Interim Order or the Final Order (the “Orders”) without the express
prior written consent of the DIP Lender;

                (b)     without the written consent of the DIP Lender, (i) dismissal of any of the
Cases or conversion of any of the Cases to chapter 7 cases, or appointment of a chapter 11
trustee or examiner or other responsible officer with enlarged powers relating to the operation of
the business of the Debtors in any of the Cases, which dismissal, conversion or appointment shall
not have been reversed, stayed or vacated within three (3) calendar days, (ii) termination of the
exclusive period for the Debtors to file a plan of reorganization in the Cases or the filing of a
plan of reorganization in the Cases, or (iii) the Debtors shall seek or request the entry of any
order to effect any of the events described in subclause (i) of this clause (b);

                (c)    the occurrence of any Event of Default (as defined in the DIP Loan
Agreement), or the occurrence of any Default following the passage of any applicable notice or
cure period set forth in the DIP Loan Agreement regardless of any acts or omissions of the DIP
Lender that would otherwise have resulted in such Default not becoming an Event of Default by
virtue of such passage of any applicable notice or cure period;

               (d)     the entry by this Court of an order granting relief from the automatic stay
imposed by Section 362 of the Bankruptcy Code sought by any party that materially adversely
affects the Debtors’ property, without the written consent of the DIP Lender;

               (e)    three (3) business days after written notice to the Debtors of the failure by
the Debtors to deliver to the DIP Lender any of the documents or other information required to
be delivered pursuant to the Orders when due (during which time the Debtors may cure) or any
such documents or other information shall contain a misrepresentation of a material fact when
made;

              (f)     except as set forth herein, three (3) business days after the failure by the
Debtors to observe or perform any of the material terms or provisions contained in the Orders;

               (g)     the entry of an order of this Court granting any lien on or security interest
in any of the DIP Collateral that is pari passu with or senior to the DIP Liens held by the DIP
Lender on or as security interests in the DIP Collateral, the Adequate Protection Liens, the Pre-
Petition Lender Superpriority Claims or the Pre-Petition Liens, or the Debtors shall seek or
request the entry of any such order;




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              (h)     the Debtors’ creating or permitting to exist any other superpriority claim
which is pari passu with or senior to the claims of the DIP Lender, the Adequate Protection
Liens, the Pre-Petition Lender Superpriority Claims or the Pre-Petition Liens, except for the
Carve-Out;

               (i)    the Debtors filing a pleading, or in any way support another party’s
pleading, seeking to modify or otherwise alter any of the terms and conditions set forth in the
Orders without the prior written consent of the DIP Lender;

               (j)     the entry of an order of this Court amending, supplementing or otherwise
altering any of the terms and conditions set forth in the Orders without the prior written consent
of the DIP Lender;

               (k)   any of the Debtors uses the DIP Facility for any item other than those set
forth in the Approved Budget or the Carve-Out, except as agreed in writing in advance by the
DIP Lender;

                (l)     any of the Debtors (or any party with the support of any of the Debtors)
shall file a plan of reorganization in any of the Cases if the filing of such plan is made without
the prior written consent of the DIP Lender;

                (m)    any uninsured judgments are entered with respect to any post-petition
liabilities against any of the Debtors or any of their respective properties in a combined
aggregate amount in excess of $50,000 unless stayed, vacated or satisfied for a period of twenty
(20) calendar days after entry thereof;

              (n)    the failure of the Debtors to meet any of the following milestones, unless
extended or waived by the DIP Lender:

                       (i)    to obtain entry of the Interim Order in form and substance
       satisfactory to the DIP Lender in its sole discretion on or before the second (2nd) day after
       the Petition Date;

                        (ii)    to obtain entry of the Final Order in form and substance
       satisfactory to the DIP Lender in its sole discretion on or before on or before the thirty-
       fifth (35th) day after the Petition Date;

                      (iii)  to file a motion with the Court seeking approval of the Sale Order
       on or before the seventh (7th) day after the Petition Date;

                    (iv)    to obtain the scheduling of the date for the hearing on the Bid
       Procedures Order on or before the twenty first (21st) day after the Petition Date;




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                      (v)     to obtain entry of an order by the Court approving bidding
       procedures for the sale of substantially all of the Debtors’ assets (the “Bidding
       Procedures Order”) in form and substance satisfactory to the DIP Lender on or before the
       twenty third (23rd) day after the Petition Date;

                      (vi)   to conduct an auction for the sale of substantially all of the
       Debtors’ assets pursuant to the Bidding Procedures Order on or before the third day
       before the Sale Hearing (as defined below);

                        (vii) to hold a sale hearing (“Sale Hearing”) for the approval of the sale
       of substantially all of the Debtors’ assets pursuant to the Bidding Procedures Order on or
       before the fortieth (40th) day after the Petition Date; and

                      (viii) to obtain entry of an order by the Court approving the sale of
       substantially all of the Debtors’ assets (“Sale Order”) on or before the forty-fifth (45th)
       day after the Petition Date;

                (o)     the Debtors seek to sell any of their assets outside the ordinary course of
business, unless (i) the proceeds of such sale are used to indefeasibly pay the DIP Obligations in
full in cash, and to the extent there are remaining proceeds thereafter, are used to indefeasibly
pay the Pre-Petition Obligations at closing, and (ii) such sale is pursuant to bidding procedures
and a sale motion approved by the DIP Lender;

              (p)     the Debtors filing of a plan of re-organization in the Cases that do not
propose to indefeasibly repay the DIP Obligations in full in cash, unless otherwise consented to
by the DIP Lender;

               (q)    any of the Debtors (or any party with the support of any of the Debtors)
shall challenge the validity or enforceability of any of the DIP Loan Documents or the Pre-
Petition Loan Documents; and

               (r)    any of the Debtors shall make any a payment (by way of adequate
protection or otherwise) of principal or interest or otherwise on account of any pre-petition
indebtedness, trade payables or other pre-petition claims against any Debtor, unless expressly
provided in the Orders or consented to by the DIP Lender.

            Authorization to Use Proceeds of DIP Facility and Adequate Protection

      16.      Authorization to Use Proceeds of DIP Facility.          Subject to the terms and

conditions of this Interim Order and the DIP Loan Documents, and in accordance with an

Approved Budget, the Debtors are authorized to use the proceeds of the DIP Facility in

accordance with this Interim Order. Nothing in this Interim Order shall authorize the disposition

of any assets of the Debtors or their estates outside the ordinary course of business, except as

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permitted in this Interim Order and the DIP Loan Documents, and in accordance with an

Approved Budget.

      17.     Adequate Protection.

              (a)     Pre-Petition Lender’s Adequate Protection Liens and Claims. Pursuant to

Sections 361, 363(e), 364(d), and 507(b) of the Bankruptcy Code, as adequate protection of the

interests of the Pre-Petition Lender, the Debtors hereby grant to the Pre-Petition Lender, the

following:

                      (i)     continuing, valid, binding, enforceable and perfected post-petition

              “replacement” liens on the Pre-Petition Collateral to the extent of any post-

              petition Diminution in Value of the Pre-Petition Lender’s interest in the DIP

              Collateral (the “Adequate Protection Liens”), which liens will be junior to the DIP

              Liens, the Permitted Prior Liens, the Pre-Petition Liens and the Carve-Out;

                      (iii)   an allowed superpriority administrative expense claim in each of

              the Cases to the extent of any post-petition Diminution in Value of the Pre-

              Petition Lender’s interest in the Pre-Petition Collateral (the “the Pre-Petition

              Lender Superpriority Claims”), which claims will be junior only to the DIP

              Obligations, the Superpriority DIP Claim, the Carve-Out and, with respect to the

              DIP Collateral, any validly perfected secured claim, and be payable from and

              have recourse to all assets and property of the Debtors.

              (b)     Adequate Protection Payments. As further adequate protection for the Pre-

Petition Lender, the Debtors are authorized to provide adequate protection in the form of current

interest payments and, any and all reasonable and documented (in summary form) out-of-pocket

fees, costs and expenses of the Pre-Petition Lender (including all reasonable fees, costs,


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disbursements and expenses of their outside counsel), subject to the Approved Budget. Subject

to the Carve-Out and paragraphs 35(b) and 43, the payments set forth in this paragraph are not

and shall not be subject to any offset, defense, claim, counterclaim or diminution, or recovery, of

any type, kind or nature whatsoever.

               (c)     Access to Books and Records. As further adequate protection for the Pre-

Petition Lender, the Debtors shall provide the Pre-Petition Lender with access to the Debtors’

books and records and such financial reports as are provided to the DIP Lender.

      18.      Adequate Protection Reservation. The receipt by the Pre-Petition Lender of the

adequate protection provided pursuant to paragraph 17 of this Interim Order shall not be deemed

an admission that the interests of the Pre-Petition Lender are indeed adequately protected.

Further, this Interim Order shall not prejudice or limit the rights of the Pre-Petition Lender to

seek additional adequate protection.

      19.      Reporting. Until the DIP Obligations are indefeasibly paid in full, the Debtors

shall provide to the DIP Lender: (i) monthly financial statements of the Debtors and their

subsidiaries within thirty (30) days of month-end, certified by the Debtors’ chief financial

officer; (ii) quarterly consolidated financial statements of the Debtors within forty-five (45) days

of fiscal quarter-end, certified by the Debtors’ chief financial officer; (iii) following delivery of

the Initial Approved Budget (as defined below), and for each four-week period thereafter during

the Cases, an updated 13-week cash flow forecast, in each case, in form and substance

satisfactory to the DIP Lender (each such forecast approved by the DIP Lender, an “Approved

Budget”) for the subsequent 13-week period consistent with the form of the Initial Approved

Budget; and (iv) beginning on the second Tuesday following the date on which all conditions

precedent to the effectiveness of the DIP Facility have been satisfied or waived as provided


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therein (such date, the “Closing Date”), and on each Tuesday following, a variance report (the

“Variance Report”) setting forth actual cash receipts and disbursements of the Debtors for the

prior week and setting forth all the variances, on a line-item and aggregate basis, from the

amount set forth for such week as compared to the Initial Approved Budget or the most recently

Approved Budget delivered prior to such Variance Report (as applicable) on a weekly and

cumulative basis (which shall be subject to the variances set forth in the DIP Loan Documents),

and each such Variance Report shall include explanations for all material variances and shall be

certified by the chief financial officer or chief restructuring officer of the Debtors. The Debtors

will promptly provide notice to counsel to the DIP Lender, for prompt distribution to the DIP

Lender, of any Material Adverse Effect (as defined in the DIP Loan Agreement).

      20.         Additional Reports and Information. Further, the Debtors will provide to the DIP

Lender, such other reports and information as may be reasonably requested by the DIP Lender.

In addition, the Debtors’ accountants, financial advisors and consultants are hereby authorized to

cooperate, consult with, and provide to the DIP Lender, all such information as may be

reasonably requested with respect to the businesses, results of operations, and financial condition

of the Debtors.

      21.         Section 507(b) Reservation. Subject to the Carve-Out, nothing herein shall impair

or modify the application of Section 507(b) of the Bankruptcy Code in the event that the

adequate protection provided hereunder is insufficient to compensate for any Diminution in

Value during any of the Cases.

      22.         Amendment of the DIP Loan Documents or this Interim Order.             Except for

actions expressly permitted to be taken by the DIP Lender, no amendment, modification,

termination or waiver of any provision of the DIP Loan Documents or this Interim Order or any


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other related documents, or any consent to any departure by any of the Debtors therefrom, shall

in any event be effective unless the same shall be in writing (it being understood that any

necessary signatures may be on a document consenting to such amendment, modification,

termination, or waiver) signed by the Debtors and the DIP Lender. In the event of any such

amendment, modification, termination or waiver, the Debtors shall provide notice thereof to the

Pre-Petition Lender, the DIP Lender, the Committee (if any) and the U.S. Trustee no less than

three (3) days prior to the effective date thereof (or such shorter period as to which such parties

may agree).

      23.      Budget.

               (a)    The Debtors have prepared and delivered an initial 13-week budget to the

DIP Lender (the “Initial Approved Budget”), which reflects the Debtors’ anticipated cumulative

cash receipts, expenditures and net cash flow on a weekly basis and all necessary and required

cumulative expenses that the Debtors, in consultation with any financial advisors engaged by the

DIP Lender, expect to incur during each week of the Initial Approved Budget. The Debtors’

actual aggregate disbursements shall not exceed the aggregate amount of disbursements in the

Initial Approved Budget or any subsequently Approved Budget, as applicable, for the applicable

period by more than the Permitted Variance (as defined below), and (ii) actual aggregate cash

receipts (excluding proceeds of the DIP Facility that may be deemed a receipt) during the

applicable period shall not be less than the aggregate amount of such cash receipts in the Initial

Approved Budget or any subsequently Approved Budget, as applicable, for such period by more

than the Permitted Variance; provided, however, that a Default or Event of Default (each as

defined in the DIP Loan Agreement) shall not be deemed to occur on account of the failure to

meet one of such aggregate cash receipts covenants if the Debtors receive sufficient additional


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receipts within three (3) business days after the applicable date of determination that, when

added to the receipts as of the applicable date of determination, would enable the Debtors to

satisfy such covenant.

              (b)        “Permitted Variance” will mean (i) any favorable variance, (ii) an

unfavorable variance of no more than 5.00% with respect to each week after the Closing Date

and on a rolling three-week basis with respect to each subsequent week (each such period, a

“Testing Period”).   The Permitted Variance with respect to each Testing Period shall be

determined and reported to the DIP Lender not later than the Tuesday immediately following

each such Testing Period. Subject to paragraph 23(a) above, variances, if any, from the Initial

Approved Budget or any subsequently Approved Budget, and any proposed changes to the Initial

Approved Budget or any Approved Budget, shall be subject to the approval of the DIP Lender.




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               (c)     The Initial Approved Budget shall be modified or supplemented from time

to time consistent with the provisions of paragraph 19 hereof (i.e., a revised 13-week cash flow

forecast that must be approved by the DIP Lender), in each case without further notice, motion or

application to, order of, or hearing before, this Court. For all purposes hereunder, (i) the Initial

Approved Budget shall constitute an “Approved Budget,” and (ii) any Approved Budget shall

replace any prior Approved Budgets (including the Initial Approved Budget) for all Testing

Periods ending after the approval of such Approved Budget.

      24.      Budget Compliance. Except as otherwise provided herein or approved by the DIP

Lender, the Debtors will not, and will not permit any subsidiary directly or indirectly to, use any

cash or the proceeds of the DIP Facility in a manner or for a purpose other than those consistent

with an Approved Budget and this Interim Order.

      25.      Modification of Automatic Stay. The automatic stay imposed by Section 362(a)

of the Bankruptcy Code is hereby modified as necessary to permit: (a) the Debtors to grant the

DIP Liens and the Superpriority DIP Claims, and to perform such acts as the DIP Lender may

request to assure the perfection and priority of the DIP Liens; (b) the Debtors to take all

appropriate action to grant the Adequate Protection Liens and the Pre-Petition Lender

Superpriority Claims set forth in paragraph 14 hereof, and to take all appropriate action to ensure

that the Adequate Protection Liens granted hereunder are perfected and maintain the priority set

forth herein; (c) the Debtors to incur all liabilities and obligations to the Pre-Petition Lender and

the DIP Lender as contemplated under this Interim Order; (d) the Debtors to pay all amounts

referred to, required under, in accordance with, and subject to the DIP Loan Documents and this

Interim Order; (e) the DIP Lender and the Pre-Petition Lender to exercise, upon the occurrence

and during the continuance of any Event of Default under the DIP Loan Documents, all rights


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and remedies provided for in the DIP Loan Documents or the Pre-Petition Loan Documents and

take any or all actions provided therein; (f) the Debtors to execute any amendments to the DIP

Loan Documents agreed to in writing with the DIP Lender; and (g) the implementation of the

terms of this Interim Order.

      26.      Perfection of DIP Liens and Post-Petition Liens. This Interim Order shall be

sufficient and conclusive evidence of the validity, perfection and priority of all liens granted

herein, including, without limitation, the DIP Liens and the Adequate Protection Liens, without

the necessity of execution, filing or recording any financing statement, mortgage, notice or other

instrument or document that may otherwise be required under the law or regulation of any

jurisdiction or the taking of any other action (including, for the avoidance of doubt, entering into

any deposit account control agreement) to validate or perfect (in accordance with applicable law)

such liens, or to entitle the Pre-Petition Lender or the DIP Lender to the priorities granted herein.

Notwithstanding the foregoing, each of the DIP Lender and the Pre-Petition Lender are

authorized to execute, file or record and the DIP Lender may require the execution, filing or

recording, as each, in its sole discretion deems necessary, such financing statements, mortgages,

notices of lien, and other similar documents to perfect in accordance with applicable law or to

otherwise evidence the DIP Liens and/or Adequate Protection Liens, as applicable, and all such

financing statements, mortgages, notices, and other documents shall be deemed to have been

filed or recorded as of the Petition Date; provided, however, that no such filing or recordation

shall be necessary or required in order to create or perfect the DIP Liens and/or the Adequate

Protection Liens. The Debtors are authorized to execute and deliver promptly upon demand to

the DIP Lender or the Pre-Petition Lender all such financing statements, mortgages, notices, and

other documents as the DIP Lender or the Pre-Petition Lender, as applicable, may reasonably


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request.    DIP Lender or the Pre-Petition Lender, in their respective discretion, may file a

photocopy of this Interim Order as a financing statement with any filing or recording office or

with any registry of deeds or similar office, in addition to or in lieu of such financing statements,

notices of lien, or similar instruments.

      27.       After-Acquired Property. Except as otherwise provided in this Interim Order,

pursuant to Section 552(a) of the Bankruptcy Code, all property acquired by the Debtors after the

Petition Date, including, without limitation, all DIP Collateral pledged or otherwise granted to

the DIP Lender pursuant to this Interim Order, is not and shall not be subject to any lien of any

person or entity resulting from any security agreement entered into by the Debtors prior to the

Petition Date, except to the extent that such property constitutes proceeds of property of the

Debtors that is subject to a Permitted Prior Lien.

      28.       Proceeds of Subsequent Financing. If the Debtors, any trustee, any examiner with

enlarged powers, or any responsible officer subsequently appointed in any of the Cases or any

Successor Cases, shall obtain credit or incur debt pursuant to Sections 364(b), (c), or (d) of the

Bankruptcy Code in violation of this Interim Order or the DIP Loan Documents at any time prior

to the indefeasible payment in full in cash of all of the Pre-Petition Obligations and the

indefeasible payment in full in cash of all of the DIP Obligations, the satisfaction of the

Superpriority DIP Claims, and the termination of the DIP Lender’s obligations to extend credit

under the DIP Facility and this Interim Order, including subsequent to the confirmation of any

plan with respect to any or all of the Debtors and the Debtors’ estates, then all of the cash

proceeds derived from such credit or indebtedness shall immediately be turned over to the DIP

Lender to be applied, subject to the Carve-Out, the Permitted Prior Liens, then paid to: (a) the

DIP Obligations, and (b) after the full satisfaction of the DIP Obligations, to the outstanding


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amounts owing in accordance with the Pre-Petition Loan Documents (i.e., the Pre-Petition

Obligations).

      29.        Maintenance of DIP Collateral. Until the indefeasible payment in full in cash of

all DIP Obligations and the termination of the DIP Lender’s obligation to extend credit under the

DIP Facility, the Debtors shall: (a) insure the DIP Collateral as required under this Interim Order

and the DIP Loan Documents, as applicable; and (b) maintain the cash management system in

effect as of the Petition Date, as modified by this Interim Order and any order that may be

entered by this Court in accordance with this Interim Order.

      30.        Insurance Policies.   The Debtors shall continue to maintain all property,

operational and other insurance as required and as specified in the DIP Loan Documents. Upon

entry of this Interim Order, the DIP Lender shall be, and shall be deemed to be, without any

further action or notice, named as additional insureds and loss payees on each insurance policy

maintained by the Debtors that in any way relates to the DIP Collateral.

      31.        Disposition of, or New Liens on, DIP Collateral. Other than in the ordinary

course of business, the Debtors shall not sell, transfer, lease, encumber or otherwise dispose of

any portion of the DIP Collateral unless such sale, transfer, lease, encumbrance or other

disposition results in payment in full of the DIP Obligations and Pre-Petition Obligations in cash

at closing, without the prior written consent of the DIP Lender (and no such consent shall be

implied from any other action, inaction or acquiescence by the DIP Lender, except as otherwise

provided for herein), or (ii) is expressly permitted by the DIP Loan Documents. Absent further

order of this Court, the Debtors shall not create or permit to exist any post-petition liens or

encumbrances on any of their assets or property except any post-petition liens allowed pursuant

to the DIP Loan Documents.


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      32.         DIP Termination Date. On the Termination Date (as defined in the DIP Loan

Agreement), all DIP Obligations shall be immediately due and payable, and all commitments to

extend credit under the DIP Facility and the Debtors authorization for the use of Cash Collateral

will terminate.

      33.         Rights and Remedies Upon Termination Event. Notwithstanding the provisions

of Section 362 of the Bankruptcy Code, and without order of or application or motion to this

Court, immediately upon the occurrence and during the continuance of a Termination Event: (a)

the DIP Lender shall, by written notice to the Debtors, their counsel, the U.S. Trustee and any

counsel for the Committee, if any, terminate the DIP Facility, declare the DIP Obligations to be

immediately due and payable and, subject to the immediately following clause (b), exercise all

rights and remedies under the DIP Loan Documents and this Interim Order; and (b) the

automatic stay provisions of Section 362 of the Bankruptcy Code shall be vacated and modified

to the extent necessary to permit the DIP Lender to exercise all rights and remedies provided for

in the DIP Loan Documents, including to take any or all of the following actions, without further

order of or application to this Court (as applicable): (i) immediately terminate the Debtors’

limited use of any Cash Collateral; (ii) cease making any extensions of credit under the DIP

Facility to the Debtors; (iii) declare all DIP Obligations to be immediately due and payable; (iv)

freeze monies or balances in the Debtors’ accounts (and, with respect to the DIP Obligations,

sweep all funds contained in any deposit accounts); (v) immediately set-off any and all amounts

in accounts maintained by the Debtors with the DIP Lender, if any, against the DIP Obligations,

or otherwise enforce any and all rights against the DIP Collateral in the possession of any of the

applicable DIP Lender, including, without limitation, disposition of the DIP Collateral solely for

application towards the DIP Obligations; and (vi) take any other actions or exercise any other


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rights or remedies permitted under this Interim Order, the DIP Loan Documents or applicable

law to effect the repayment of the DIP Obligations; provided, however, that prior to the exercise

of any right in clauses (i), (v) or (vi) the DIP Lender shall be required to provide five (5) business

days written notice (the “Remedies Notice Period”) to the Debtors and the Committee of the DIP

Lender’s intent to exercise such rights and remedies; provided, further, that none of the Debtors,

the Committee or any other party-in-interest shall not have the right to contest the enforcement

of the remedies set forth in this Interim Order and the DIP Loan Documents on any basis other

than an assertion that a Termination Event has not occurred or has been cured within the cure

periods expressly set forth herein or in the applicable DIP Loan Documents.               During the

Remedies Notice Period, the Debtors and the Committee shall be entitled to seek an emergency

hearing with the Court in connection therewith. With respect to the aforementioned clauses (i),

(v) and (vi), unless the Court determines during the Remedies Notice Period that a Termination

Event has not occurred, or to the extent of an applicable cure period was cured within the

applicable cure period as provided under the DIP Loan Documents: (i) the automatic stay shall

automatically be terminated at the end of the Remedies Notice Period without further notice or

order and the DIP Lender shall be permitted to exercise all rights and remedies set forth herein;

(ii) the Debtors shall cooperate fully with the DIP Lender in its exercise of rights and remedies,

whether against the DIP Collateral or otherwise; and (iii) the Debtors shall waive any right to

seek relief under the Bankruptcy Code, including under Section 105 thereof, to the extent such

relief would restrict or impair the rights and remedies of the DIP Lender set forth in the Interim

and/or Final Orders and in the DIP Loan Documents. Any remedies taken affecting any leases or

premises subject to any leases shall be in accordance with applicable federal and state law, the




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Bankruptcy Code, the governing leases, consent of the applicable landlord (if required), or as

otherwise ordered by the Court.

      34.      Good Faith Under Section 364(e) of the Bankruptcy Code; No Modification or

Stay of this Interim Order. Based on the record, the DIP Lender has acted in good faith in

connection with the DIP Facility, the Interim Financing, and with this Interim Order, and its

reliance on this Interim Order is in good faith. Based on the findings set forth in this Interim

Order and the record made during the Interim Hearing, and in accordance with Section 364(e) of

the Bankruptcy Code for any amounts loaned or advanced under this Interim Order, in the event

any or all of the provisions of this Interim Order are hereafter modified, amended or vacated by a

subsequent order of this Court or any other court, the DIP Lender is entitled to the protections

provided in Section 364(e) of the Bankruptcy Code. Any such modification, amendment or

vacatur shall not affect the validity and enforceability of any advances previously made or made

hereunder, or lien, claim or priority authorized or created hereby. Any liens or claims granted to

the DIP Lender arising prior to the effective date of any such modification, amendment, or

vacatur of this Interim Order shall be governed in all respects by the original provisions of this

Interim Order, including entitlement to all rights, remedies, privileges, and benefits granted

herein.

      35.      DIP and Other Expenses.

               (a)    The Debtors are authorized to pay promptly all (i) reasonable and

documented (in summary form) out-of-pocket fees, costs, disbursements and expenses of the DIP

Lender in connection with the negotiations, preparation, execution and delivery of the DIP Loan

Documents and the funding of all extensions of credit under the DIP Facility, including, without

limitation, all due diligence, transportation, computer, duplication, messenger, audit, insurance,


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appraisal, valuation and consultant costs and expenses, and all search, filing and recording fees,

incurred or sustained by the DIP Lender and its counsel and professional advisors in connection

with the DIP Facility, the DIP Loan Documents or the transaction contemplated thereby, the

administration of the DIP Facility and any amendment or waiver of any provision of the DIP

Loan Documents, and (ii) without duplication, reasonable and documented (in summary form)

out-of-pocket fees, costs, disbursements and expenses of each of the DIP Lender all reasonable

fees, costs, disbursements and expenses of one firm of outside counsel and one firm of local

counsel engaged by the DIP Lender in connection therewith) and professional advisors in

connection with the enforcement of any rights and remedies under the DIP Loan Documents.

               (b)    The payment of fees, costs, disbursements and expenses set forth in

paragraph 17(b), this paragraph 35 and paragraph 36 shall be made within ten (10) days after the

receipt by the Debtors, the Committee and the U.S. Trustee (the “Review Period”) of summary

invoices thereof (the “Invoiced Fees”) (subject in all respects to applicable privilege or work

product doctrines), including a description of the services provided and the expenses incurred by

the applicable professional arising before or after the Petition Date, as applicable. The Debtors,

the Committee and the U.S. Trustee may preserve their right to dispute the payment of any

portion of the Invoiced Fees (the “Disputed Invoiced Fees”) if, within the Review Period, (i) the

Debtors pay in full the Invoiced Fees, including the Disputed Invoiced Fees; and (ii) the Debtors,

the Committee or the U.S. Trustee files with the Court a motion or other pleading, on at least ten

(10) calendar days prior written notice to the applicable parties of any hearing on such motion or

other pleading, which must contain a specific basis for the objection to the Disputed Invoiced

Fees and quantification of the undisputed amount of the fees and expenses invoiced. Failure to

object with specificity or to quantify the undisputed amount of the invoice subject to such


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objection will constitute a waiver of any objection to such invoice. None of the Invoiced Fees

shall be subject to this Court’s approval or required to be maintained in accordance with the U.S.

Trustee Guidelines, and no recipient of any payment on account thereof shall be required to file

with respect thereto any interim or final fee application with this Court. Payment of Invoiced

Fees shall not be delayed based on any objections thereto, and the relevant professional shall

only be required to disgorge amounts objected to upon being “so ordered” pursuant to a final

non-appealable order of this Court.

      36.      Indemnification. Subject to the investigation rights set forth in paragraph 43

hereof, the Debtor shall jointly and severally indemnify and hold harmless the DIP Lender, any

of its affiliates and each of the respective officers, directors, employees, controlling persons,

agents, advisors, attorneys and representatives of each in their respective capacities as such

(each, an “Indemnified Party”), from and against any and all claims, damages, losses, liabilities

and expenses (including, without limitation, reasonable fees and disbursements of counsel), joint

or several, that may be incurred by or asserted or awarded against any Indemnified Party, in each

case arising out of or in connection with or relating to any investigation, litigation or proceeding

or the preparation of any defense with respect thereto, arising out of or in connection with or

relating to the DIP Facility, the DIP Loan Documents or the transactions contemplated thereby,

or any use made or proposed to be made with the proceeds of the DIP Facility, whether or not

such investigation, litigation or proceeding is brought by any Debtor or any subsidiary, any

shareholder or creditor of the foregoing, an Indemnified Party or any other person, or an

Indemnified Party is otherwise a party thereto and whether or not the transactions contemplated

hereby or under the DIP Loan Documents are consummated, except, with respect to any

Indemnified Party, to the extent such claim, damage, loss, liability or expense is found in a final


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non-appealable judgment by a court of competent jurisdiction to have resulted solely from the

bad faith, gross negligence or willful misconduct of such Indemnified Party or any of such

Indemnified Party’s affiliates or their respective principals, directors, officers, employees,

representatives, agents, attorneys or third party advisors. No Indemnified Party shall have any

liability (whether direct or indirect, in contract, tort or otherwise) to any Debtor or any subsidiary

or any shareholder or creditor of the foregoing for or in connection with the transactions

contemplated hereby, except, with respect to any Indemnified Party, to the extent such liability is

found in a final non-appealable judgment by a court of competent jurisdiction to have resulted

solely from the bad faith, gross negligence or willful misconduct of such Indemnified Party or

any of such Indemnified Party’s affiliates or their respective principals, directors, officers,

employees, representatives, agents, attorneys or third party advisors. In no event, however, shall

any person be liable on any theory of liability for any special, indirect, consequential or punitive

damages. The foregoing indemnity includes indemnification for the DIP Lender’s exercise of

discretionary rights granted under this Interim Order or the DIP Loan Documents. In all such

litigation or the preparation therefor, subject to paragraph 35, the DIP Lender shall be entitled to

select its own counsel and, in addition to the foregoing indemnity, the Debtors agree to promptly

pay the reasonable fees and expenses of such counsel.

      37.      Proofs of Claim.     The DIP Lender and the Pre-Petition Lender shall not be

required to file proofs of claim in any of the Cases for any claim allowed herein. Any proof of

claim filed by the DIP Lender or the Pre-Petition Lender shall be deemed to be in addition to

(and not in lieu of) any other proof of claim that may be filed by any such persons.

      38.      Rights of Access and Information. Without limiting the rights of access and

information afforded the Pre-Petition Lender or the DIP Lender under this Interim Order, the


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DIP Loan Documents and/or the Pre-Petition Loan Documents, the Debtors shall afford

representatives, agents and/or employees of the DIP Lender reasonable access to the Debtors’

premises and their books and records and shall reasonably cooperate, consult with, and provide

to such persons all such information as may be reasonably requested. In addition, the Debtors

shall authorize their independent certified public accountants, financial advisors, investment

bankers, and consultants to cooperate, consult with, and provide to the DIP Lender all such

information as may be reasonably requested with respect to the businesses, results of operations,

and financial condition of the Debtors.

      39.      Access to DIP Collateral/No Landlord’s Liens. Subject to entry of the Final

Order providing for such relief and subject to applicable state law, notwithstanding anything

contained herein to the contrary and without limiting any other rights or remedies of the DIP

Lender contained in this Interim Order, or otherwise available at law or in equity, and subject to

the terms of this Interim Order, upon written notice to the landlord of any leased premises that an

Event of Default has occurred and is continuing under the DIP Facility, the DIP Lender may,

subject to any separate agreement by and between such landlord and the DIP Lender (a “Separate

Agreement”), enter upon any leased premises of the Debtors for the purpose of exercising any

remedy with respect to DIP Collateral located thereon and, subject to any Separate Agreement,

shall be entitled to all of the Debtors’ rights and privileges as lessee under such lease without

interference from such landlord; provided, however, that, subject to any such Separate

Agreement, the DIP Lender shall only pay rent of the Debtors that first accrues after the written

notice referenced above and that is payable during the period of such occupancy by the DIP

Lender, calculated on a per diem basis. Nothing herein shall require the DIP Lender to assume

any lease as a condition to the rights afforded to the DIP Lender in this paragraph.


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      40.        Application of Proceeds Upon Sale of Debtors or Debtors’ Businesses. Upon the

consummation of the sale of substantially all of the Debtors’ (or any Debtor’s) assets and the

entry of the Sale Order by the Court, all proceeds from such sale shall immediately be turned

over to the DIP Lender to be applied to, subject to the Carve-Out and the Permitted Prior Liens:

(a) first, the DIP Obligations, until the full satisfaction thereof, and (b) then to the outstanding

amounts owing in accordance with the Pre-Petition Loan Documents (i.e., the Pre-Petition

Obligations).

      41.        Carve-Out.

                     (i)       For the purposes of this Interim Order, the “Carve-Out” shall mean

       (a) the payment of allowed professional fees and disbursements accrued by professions

       retained pursuant to Sections 327 or 1103(a)(i) of the Bankruptcy Code, subject to the

       amounts set forth in the Approved Budget: (i) prior to the earlier of (1) the date on which

       the DIP Lender provides written notice (the “Carve-Out Trigger Notice”) to Debtors that

       either an Event of Default has occurred or the DIP Loan Agreement is terminated or (2)

       the Termination Date; and (ii) in an amount not to exceed $25,000 on account of such

       professional fees and disbursements incurred by Debtors following the Carve-Out Trigger

       Notice (provided nothing herein shall be construed to (A) provide for double payment of

       any fees or disbursements; (B) alter the procedures for the approval of professional

       compensation as set forth under the Bankruptcy Code and the rules of the Bankruptcy

       Court; (C) alter the ability of any party to object to such fees and disbursements or (D)

       extend the super-priority status of the Carve-Out to any portion unused by bankruptcy

       counsel); and (b) quarterly fees required to be paid pursuant to 28 U.S.C. § 1930(a)(6)

       and any fees payable to the Clerk of the Bankruptcy Court. For the avoidance of doubt


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and notwithstanding anything to the contrary herein or elsewhere, the Carve-Out shall be

senior to all liens securing the DIP Obligations, the Pre-Petition Obligations, the

Adequate Protection Liens and all claims and any and all other forms of adequate

protection, liens or claims securing the DIP Obligations, or the Pre-Petition Obligations

granted herein to the Pre-Petition Lender or the DIP Lender. The DIP Lender’s Priming

DIP Lien and Superpriority DIP Claim shall attach to any unused portion of the Carve-

Out.

           (ii)       Subject to paragraph 43 herein, notwithstanding anything to the

contrary herein, neither the Carve-Out nor any other DIP Collateral may be used for the

payment of any fees or disbursements incurred in connection with: (a) attempting to

modify or otherwise alter any of the terms and conditions set forth in this Interim Order,

without the prior written consent of the DIP Lender; (b) asserting, alleging, bringing,

supporting any claim or cause of action, or the initiation or prosecution of any claim or

action against the Pre-Petition Lender or the DIP Lender, including any causes of action

under Chapter 5 of the Bankruptcy Code or state law of any type or nature whatsoever,

against any of the Pre-Petition Lender or the DIP Lender, including, without limitation,

challenging the amount, extent, priority, validity, perfection or enforcement of the Pre-

Petition Obligations, the DIP Obligations, or any of the Pre-Petition Lender’ or the DIP

Lender’s security interests and liens or to recover any funds previously paid to the Pre-

Petition Lender or the DIP Lender; or (c) bringing or asserting any claims or causes of

actions against the Pre-Petition Lender or the DIP Lender under the Pre-Petition Loan

Documents or the DIP Facility (as the case may be), or their respective advisors or

agents, including formal discovery proceedings in anticipation thereof, and/or


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       challenging any lien, security or interest of Pre-Petition Lender under the Pre-Petition

       Loan Documents in the Pre-Petition Collateral or of the DIP Lender under this Interim

       Order in the DIP Collateral.

      42.      Payment of Compensation. So long as an un-waived Termination Event has not

occurred, and to the extent permitted under this Interim Order (including the dollar caps provided

in paragraphs 14(b) and 41 hereof), the Debtors are authorized to pay fees and expenses allowed

and payable, as applicable, by any interim, procedural, or final order of this Court (that has not

been vacated or stayed, unless the stay has been vacated) under Sections 330 and 331 of the

Bankruptcy Code, as the same may be due and payable in accordance with the Approved Budget.

      43.      Investigation Rights. The Committee and any other parties in interest (other than

the Debtors) are permitted to undertake a Challenge (as defined below). Any party (other than

the Debtors, which have waived any Challenge rights), including the Committee, shall have a

maximum of sixty (60) calendar days after the appointment of the Committee, if any, but in no

event later than the earlier to occur of (x) seventy-five (75) calendar days from entry of the

Interim Order and (y) the hearing approving the sale of substantially all of the Debtors’ assets

(the “Ch. 11 Challenge Period”) to investigate and commence an adversary proceeding or

contested matter, as required by the applicable Bankruptcy Rules, and challenge (each, a

“Challenge”) the findings, the Debtors’ stipulations, or any other stipulations contained in this

Interim Order or any Final Order, including, without limitation, any challenge to the validity,

priority or enforceability of the Pre-Petition Liens, or to assert any claim or cause of action

against the Pre-Petition Lender arising under or in connection with the Pre-Petition Loan

Documents or the Pre-Petition Obligations, as the case may be, whether in the nature of a setoff,

counterclaim or defense of Pre-Petition Obligations or otherwise. If the Cases are converted to


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cases under chapter 7 of the Bankruptcy Code prior to the latest date by which the Ch. 11

Challenge Period would end pursuant to the immediately preceding sentence, then any chapter 7

trustee appointed in such converted Cases shall have a maximum of sixty (60) calendar days (the

“Ch. 7 Challenge Period” and, together with the Ch. 11 Challenge Period, the “Challenge

Period”) after the date that the Cases are converted to bring any such Challenge. The Challenge

Period may only be extended: (a) with the prior written consent of the DIP Lender, as

memorialized in an order of this Court, or (b) pursuant to an order of this Court upon a showing

of good cause for such extension. Except to the extent asserted in an adversary proceeding or

contested matter filed during the Challenge Period, upon the expiration of such applicable

Challenge Period (to the extent not otherwise waived or barred), (i) any and all Challenges or

potential challenges shall be deemed to be forever waived and barred; (ii) all of the agreements,

waivers, releases, affirmations, acknowledgements and stipulations contained in this Interim

Order and any Final Order shall be irrevocably and forever binding on the Debtors, the

Committee and all parties-in-interest and any and all successors-in-interest as to any of the

foregoing, including any chapter 7 trustee, without further action by any party or this Court; (iii)

the Pre-Petition Obligations shall be deemed to be finally allowed and the Pre-Petition Liens

shall be deemed to constitute valid, binding and enforceable encumbrances, and not subject to

avoidance pursuant to the Bankruptcy Code or applicable non-bankruptcy law; and (iv) the

Debtors shall be deemed to have released, waived and discharged the Released Parties from any

and all claims and causes of action arising out of, based upon or related to, in whole or in part,

the Pre-Petition Obligations.    Notwithstanding anything to the contrary herein: (x) if any

Challenge is timely commenced, the stipulations contained in the Final Order shall nonetheless

remain binding on all other parties-in-interest and preclusive except to the extent that such


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stipulations are expressly and successfully challenged in such Challenge; and (y) the Released

Parties reserve all of their rights to contest on any grounds any Challenge. Nothing in this

Interim Order vests or confers on any person, including, without limitation, the Committee or

any other statutory committee that may be appointed in any of the Cases, standing or authority to

pursue any cause of action, claim, defense, or other right belonging to the Debtors or their

estates.

      44.       No Third-Party Rights. Except as explicitly provided for herein, this Interim

Order does not create any rights for the benefit of any third party, creditor, equity holder, or any

direct, indirect, or incidental beneficiary.

      45.       Section 506(c) Claims. Subject to entry of the Final Order providing for such

relief, except for the Carve-Out, no costs or expenses of administration that have been or may be

incurred in any of the Cases at any time shall be charged against the DIP Lender or the Pre-

Petition Lender or any of their respective claims or liens (including any claims or liens granted

pursuant to this Interim Order) or the DIP Collateral pursuant to Sections 105 or 506(c) of the

Bankruptcy Code, or otherwise.

      46.       Section 552(b). Subject to entry of the Final Order providing for such relief, the

Pre-Petition Lender shall be entitled to all of the rights and benefits of Section 552(b) of the

Bankruptcy Code, and the “equities of the case” exception under Section 552(b) shall not apply

to the Pre-Petition Lender with respect to proceeds, products, offspring, or profits of any of the

Pre-Petition Collateral.

      47.       No Marshaling/Application of Proceeds. Subject the entry of the Final Order

providing for such relief, in no event shall the DIP Lender or the Pre-Petition Lender be subject

to the equitable doctrine of “marshaling” or any similar doctrine with respect to the DIP


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Collateral or the Pre-Petition Collateral, as applicable, and all proceeds shall be received and

applied in accordance with this Interim Order.

      48.      Right to Credit Bid. Subject to entry of the Final Order providing for such relief

and subject to paragraph 43, each of the Pre-Petition Lender and the DIP Lender shall have the

right to “credit bid” the full amount of their respective claims in connection with any sale of all

or any portion of the Debtors’ assets, including, without limitation, sales occurring pursuant to

Section 363 of the Bankruptcy Code or included as part of any restructuring plan subject to

confirmation under Section 1129(b)(2)(A)(iii) of the Bankruptcy Code. In connection with the

foregoing, each of the Pre-Petition Lender and the DIP Lender shall have the right to assign their

right to purchase all or any portion of the Debtors’ assets in connection with any such “credit

bid” to a newly-formed acquisition vehicle.

      49.      Release. Subject to entry of the Final Order providing for such relief and subject

to paragraph 43, the Debtors agree to forever waive and release any and all claims and causes of

action against the Pre-Petition Lender and the DIP Lender whether at law or in equity, arising

under or relating to the DIP Facility, Section 105 and Chapter 5 of the Bankruptcy Code and

under any other similar provisions of applicable state or federal law.

      50.      Rights Preserved. Notwithstanding anything herein to the contrary, the entry of

this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

implicitly: (a) the DIP Lender’s rights to seek any other or supplemental relief in respect of the

Debtors; (b) the rights of the DIP Lender under the DIP Loan Documents, the Bankruptcy Code

or under applicable law, including, without limitation, the right (i) upon the occurrence and

during the continuation of a Termination Event, to (A) request modification of the automatic stay

of Section 362 of the Bankruptcy Code, (B) request dismissal of any of Cases, conversion of any


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or all of the Cases to a case under Chapter 7, or appointment of a Chapter 11 trustee or examiner

with expanded powers, or (C) propose, subject to the provisions of Section 1121 of the

Bankruptcy Code, a Chapter 11 plan or plans of reorganization, or (ii) to object to the application

or motion by any professionals retained by the Debtors or any Committee for the payment of fees

and expenses, including, without limitation, in connection with the Carve-Out; or (c) any other

rights, claims, or privileges (whether legal, equitable or otherwise) of the Pre-Petition Lender or

the DIP Lender. Notwithstanding anything herein to the contrary, the entry of this Interim Order

is without prejudice to, and does not constitute a waiver of, expressly or implicitly, the Debtors’

or any party-in-interest’s right to oppose any of the relief requested in accordance with the

immediately preceding sentence except as expressly set forth in this Interim Order.

      51.      Joint and Several Liability. Nothing in this Interim Order shall be construed to

constitute a substantive consolidation of any of the Debtors’ estates, it being understood,

however, that the Debtors shall be jointly and severally liable for the obligations hereunder and

in accordance with the terms of this Interim Order.

      52.      No Waiver by Failure to Seek Relief. The DIP Lender’s delay or failure to

exercise rights and remedies under the DIP Loan Documents, applicable law, or this Interim

Order shall not constitute a waiver of any of the DIP Lender’s rights hereunder, thereunder or

otherwise, unless any such waiver is pursuant to a written instrument executed by the DIP

Lender.

      53.      Binding Effect of this Interim Order. Pursuant to Bankruptcy Rules 6004(h) and

7062, immediately upon entry by this Court, this Interim Order shall inure to the benefit of the

Debtors, the Pre-Petition Lender, and the DIP Lender, and it shall become valid and binding

upon the Debtors, the Pre-Petition Lender and the DIP Lender, their respective successors and


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assigns, any and all other creditors of the Debtors, any committee appointed in any of the Cases

or any Successor Cases, including, without limitation, the Committee, and all other parties-in-

interest and their respective successors and assigns, including any trustee or other fiduciary

hereafter appointed as legal representative of the any of the Debtors in any of the Cases or any

Successor Cases, or upon dismissal of any of the Cases or any Successor Cases. Further, upon

entry of this Interim Order: (a) the Debtors’ admissions contained herein shall be binding on the

Debtors; and (b) the DIP Obligations of the Debtors under the DIP Loan Documents shall

constitute allowed claims for all purposes in any of the Cases or any Successor Cases for any

amounts loaned or advanced pursuant to this Interim Order.

      54.      Interim Order Controls. In the event of any inconsistency between the terms and

conditions of the DIP Loan Documents, any other document or any other order of this Court

(other than the Final Order) and of this Interim Order, the provisions of this Interim Order shall

govern and control.

      55.      Survival. Unless otherwise agreed to by the DIP Lender, the provisions of this

Interim Order and any actions taken pursuant hereto shall survive entry of any order that may be

entered: (a) confirming any plan of reorganization in any of the Cases; (b) converting any or all

of the Cases to a case under Chapter 7 of the Bankruptcy Code; (c) dismissing any or all of the

Cases; or (d) pursuant to which this Court abstains from hearing any of the Cases or any

Successor Cases. The terms and provisions of this Interim Order, including the claims, liens,

security interests, and other protections (as applicable) granted to the Pre-Petition Lender or the

DIP Lender pursuant to this Interim Order, notwithstanding the entry of any such order, shall

continue in any of the Cases or any Successor Cases, or following dismissal of any of the Cases

or any Successor Cases, and shall maintain their priority as provided by this Interim Order. The


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terms and provisions concerning the indemnification of the Pre-Petition Lender and the DIP

Lender shall continue in any of the Cases or any Successor Cases following dismissal of any of

the Cases or any Successor Cases, termination of the provisions of this Interim Order, and/or the

indefeasible repayment of the Pre-Petition Obligations and/or the DIP Obligations.

       56.      Entry of this Interim Order/Waiver of Applicable Stay. The Clerk of this Court is

hereby directed to forthwith enter this Interim Order on the docket of this Court maintained in

regard to the Cases. This Interim Order shall be effective upon its entry and not subject to any

stay (all of which are hereby waived), notwithstanding anything to the contrary contained

Bankruptcy Rule 4001(a)(3).

       57.      Notice of Entry of this Interim Order. The Debtors’ counsel shall serve a copy of

this Interim Order or a suitable notice respecting same on all of the following parties: (a) the

U.S. Trustee; (b) the Internal Revenue Service; (c) the parties included on the Debtors’

consolidated list of their thirty (30) largest unsecured creditors; (d) counsel to the DIP Lender;

(e) counsel to the Pre-Petition Lender; (f) all other known parties with liens of record on assets of

the Debtors as of the Petition Date; (g) all financial institutions at which the Debtors maintain

deposit accounts; (h) the landlords for all non-residential real properties occupied by the Debtors

as of the Petition Date; and (i) all other parties required to receive notice pursuant to Bankruptcy

Rules 2002, 4001 or 9014 and applicable Local Rules or requesting to receive notice prior to the

date hereof.

       58.      Final Hearing.      The Final Hearing shall take place on the 2018 at

[______] [a.m./p.m.], and parties shall have until [_________], 2018 at [______] [a.m./p.m.] to

file     an     objection      if     necessary         and     serve    such      objection      on

[_______________________________]. In the event this Court modifies any of the provisions


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of this Interim Order or other documents following the Final Hearing, such modifications shall

not affect the rights and priorities of the DIP Lender pursuant to this Interim Order with respect

to the DIP Collateral and any portion of the DIP Facility that arises, or is incurred or is advanced

prior to such modifications (or otherwise arising prior to such modifications), and this Interim

Order shall remain in full force and effect except as specifically modified pursuant to the Final

Hearing.

      59.      Effect of this Interim Order.     Notwithstanding Bankruptcy Rules 4001(a)(3),

6004(h), 6006(d), 7062 and 9024 or any other Bankruptcy Rule, or Rule 62(a) of the Federal

Rules of Civil Procedure, this Interim Order shall be immediately effective and enforceable upon

its entry and there shall be no stay of execution or effectiveness of this Interim Order. The

requirements set forth in Bankruptcy Rule 6003(b) have been satisfied. The requirements of

Bankruptcy Rule 6004(a) are waived.

      60.      Retention of Jurisdiction. This Court shall retain jurisdiction to hear, determine

and, if applicable, enforce the terms of, any and all matters arising from or related to the DIP

Facility and/or this Interim Order.

               SO ORDERED by this Court this _____day of ________________, 2018.




                                              _______________________________________
                                              UNITED STATES BANKRUPTCY JUDGE




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                                        APPENDIX A
                                    TO INTERIM ORDER


                                      DIP Loan Agreement


Definitions                Defined terms used herein, but not defined herein shall have the
                           meanings in the Pre-Petition Loan Agreement and in the Interim Order
                           (as the case may be).
Borrowers/Debtors          ActiveCare, Inc. and 4G Biometrics, LLC
Revolving Loans            Applicable terms and provisions shall be deleted and have no force and
                           effect.
Term Loans                 Aggregate principal amount of $800,000 (inclusive of the Interim
                           Financing set forth in the Interim Order) (“DIP Term Loan”).
                           Subject to the terms and conditions set forth in the DIP Loan Agreement
                           or the Orders, the DIP Term Loan shall be disbursed to the Debtors, in
                           one or more disbursements (at the discretion of the DIP Lender), in
                           accordance with the Approved Budget.
                           Principal payments on the DIP Term Loan may not be reborrowed.
                           Prepayments of principal on the DIP Term Loan shall not be subject to
                           any penalty or premium.
                           The entire unpaid principal balance of the DIP Term Loan together with
                           any and all accrued and unpaid interest thereon shall be due and payable
                           on the earlier of (i) the Maturity Date, (ii) the sale of all or substantially
                           all of the Debtors’ (or any Debtor’s) assets or (iii) any earlier termination
                           of the DIP Loan Agreement.
                           Accrued interest on the DIP Term Loan shall be paid twice-monthly, on
                           the Friday of such week, for interest accrued for the previously ending
                           two-week period.
Interest Rate              The DIP Term Loans hall bear interest at a per annum rate equal to
                           12.75% fixed.

                           Interest shall be calculated on the basis of a 360-day year for the actual
                           number of days elapsed. The interest rate applicable to the Obligations
                           shall change on each date there is a change in the Prime Rate.
                           Notwithstanding anything to the contrary contained in any Loan
                           Document, the interest paid or agreed to be paid under the Loan
                           Documents shall not exceed the maximum rate of non-usurious interest
                           permitted by applicable law.
Maturity Date              September 15, 2018.
DIP Loan Fee               The amount equal to 2.00% of the DIP Term Loan, payable upon the
                           first disbursement of the DIP Term Loan.

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Use of DIP Term Loan       Debtors may utilize the DIP Term Loan exclusively to pay for the
Proceeds                   expenses incurred by Debtors as provided for in the Approved Budget,
                           subject to any Permitted Variances to the Approved Budget as permitted
                           in the Interim Order.
Representations re DIP     To the best of the Debtors’ knowledge, (a) the expenditures set forth in
Term Loan                  the DIP Budget constitute all of the Debtors’ projected expenses during
                           the period of the Approved Budget, and (b) the sums to be advanced by
                           DIP Lender pursuant to the DIP Credit Facility and the Approved
                           Budget are sufficient to pay all of the expenses set forth in the Approved
                           Budget and incurred through the last date shown in the Approved
                           Budget. Subject to the DIP Lender’s consent, Debtors’ sales and cash
                           receipts, shall not be less than as set forth in the Approved Budget and
                           Debtors’ expenses shall not exceed those set forth in the Approved
                           Budget, in all cases subject to the Permitted Variances.
Modification to Negative   Debtors shall not engage in any activity outside the ordinary course of
Covenants                  business and in accordance with the Approved Budget, unless consented
                           to by DIP Lender or as such activity relates to the sale of all or
                           substantially all of the Debtors’ assets.
Additional Covenant        Debtors shall, at all times, comply with all terms, conditions and
                           provisions of the Orders.
Deletion of Financial      The financial covenants set forth in Section 5 of each Schedule to the
Covenants                  Loan Agreement will not be operative
Additional Reporting and   Monitoring. Without limiting the rights of the DIP Lender, DIP Lender
Monitoring                 shall have the right to monitor and review, on a weekly basis, borrowing
                           base certificates, cash disbursements and rolling cash flow forecasts of
                           Debtors.
                           Weekly Budget Report. On or before noon on Tuesday of each week,
                           Debtors shall provide DIP Lender with a weekly updated cash budget
                           report, which will include but not be limited to the reporting of actual
                           sales and cash disbursements for the period ending Friday of the prior
                           week and showing a comparison on a weekly basis to the Approved
                           Budget.
                           Weekly Conference Call. On Wednesday of each week (or less
                           frequently
                           as determined by DIP Lender), Debtors’ Chief Executive Officer, and
                           Debtors’ other advisors shall participate in a conference call with the
                           DIP Lender to discuss (i) the Weekly Budget Report, (ii) the status of
                           discussions and negotiations for any sale or other disposition of the
                           businesses or assets, as applicable, (iii) the operations, financial
                           performance, expense reduction program and cash flow reports, as
                           applicable, of the Debtors and (iv) any other issues that DIP Lender
                           wishes to discuss.




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Additional Reporting and         Bankruptcy Related Documents. Debtors shall promptly provide DIP
Monitoring (continued)           Lender with copies of all financial reports, schedules and other materials
                                 and information related to the Post-Petition Collateral at any time
                                 furnished by Debtors, or on their behalf, to the Bankruptcy Court, or the
                                 U.S. Trustee or to any creditors’ committee or Debtors’ shareholders,
                                 concurrently with the delivery thereof to the Court, U.S. Trustee,
                                 creditors’ committee or shareholders, as the case may be.




                                                Appendix A-3
095109/599470-NAGRI-ACTIVE-ACAR - INTERIM DIP ORDER-64365028.5 7/6/2018 1:08 PM
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                                     Exhibit 1

                                 (Approved Budget)




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ActiveCare, Inc

                                                        7                8                 9       10       11        12             13        14            15        16           17        18          19         20
                                                                                                                                                                                                                               Total
                  Category                      11-Jun             18-Jun           25-Jun     2-Jul    9-Jul      16-Jul      23-Jul       30-Jul     6-Aug       13-Aug    20-Aug       27-Aug       3-Sep     10-Sep        Budget
IT Software                                                                                             -         65,300         -          8,230        -            -         -            -         8,130     10,800    $     92,460
Payroll                                                                                                           53,700                   53,700                  53,700                 53,700                 53,700    $    268,499
Care Center Payroll                                                                                               15,639                   15,639                  15,639                 15,639                 15,639    $     78,197
Health Insurance                                                                                                  19,000                              23,000                                         23,000                $     65,000
Commissions Paid                                                                                        -         47,150      15,250        6,500     10,000       24,000       -            -          -           -      $    102,900
Travel                                                                                                             2,500       2,500        2,500      2,500        2,500     2,500        2,500      2,500       2,500    $     22,500
Rent                                                                                                              11,600                              11,600                                         11,600                $     34,800
Insurance- D& O                                                                                                   60,000                                                                                                   $     60,000
Legal and Accounting- exc BK                                                                                       3,900                                            3,900                                                  $      7,800
Other Expenses                                                                                          -            320       1,900        2,695      2,037          271     2,020          995       2,037       271     $     12,546
Phone ( Unite, ATT, sFax, GoToMeeting)                                                                                         1,000        2,005                                          2,005                           $      5,010
Subtotal                                          -                  -                 -       -        -        279,109      20,650       91,269     49,137      100,010     4,520       74,839     47,267      82,910    $    749,712
One off-                                                                                       -                              10,000                                                                                       $     10,000

Total Operating Costs                             -                  -                 -       -        -        279,109      30,650       91,269     49,137      100,010     4,520       74,839     47,267      82,910    $ 759,712
                                                                                                                                                                                                                           $     -
Incoming Receipts from operations                                                                                 22,000      23,000       19,000     83,000       84,000    76,000       88,000    159,000      98,000    $ 652,000
Other Incoming                                                                                                                                                                                                             $     -
Net Operating Cash funding Required               -                  -                 -       -        -        257,109       7,650       72,269    (33,863)      16,010   (71,480)     (13,161)   (111,733)   (15,090)   $ 107,712
Professional Fees- B'ruptcy related                                                                     -         50,000      10,000       50,000    180,000       50,000       -         25,000     25,000      29,875    $    419,875
KEIP                                                                                                        1                                                                                                              $          1
DIP Interest                                                                           -       -        -              2         768          813      1,120        1,486     1,656        1,656       1,656      1,656    $     10,814
Total Cash Required                               -                  -                 -       -            1    307,112      18,418      123,082    147,257       67,497   (69,824)      13,495     (85,077)    16,441    $    538,402
Cumulative                                        -                  -                 -       -            1    307,113     325,531      448,613    595,870      663,367   593,543      607,038    521,961     538,402




estimated post petition is in gray




                                         Pre-Petition       Post-Petition        Total
Total Operating Costs                              -        $    759,712     $     759,712
Bankruptcy-Related Costs                           -        $    430,690     $     430,690
[Incoming Receipts]                                -        $   (652,000)    $    (652,000)
Total Cash Required                                -        $    538,402     $     538,402
